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                            IN THE UNITED STATES BANUPTCY COURT

                                   FOR THE DISTRICT OF DELA WAR


Inre:                                              )       Chapter 11
                                                   )
W. R. GRACE & CO., et aI.,                         )       Case No. 01-01139 (JK)
                                                   )       (Jointly Administered)
                             Debtors.              )
                                                   )

                                        CERTIFICATE OF SERVICE

                      I, Kathleen P. Makowski, hereby certify that on the 15th day of Januar 2010, I

caused a copy of        the following document to be served on the individuals on the attached service

list in the manner indicated:


                      NOTICE OF ~OTION OF DEBTORS FOR AUTHORITY TO ENTER
                      INTO LETTER OF CREDIT AND HEDGING AGREEMENTS AND
                      TERMINATE CURRNT DIP FACILITIES; AND

                      MOTION OF DEBTORS FOR AUTHORITY TO ENTER INTO LETTER
                      OF CREDIT AND HEDGING AGREEMENTS AND TERMINATE
                      CURRNT DIP FACILITIES.




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